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                              EXHIBIT E
7/14/2017                                   NEC e636 ­ Full phone specifications
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                                                       Search                                                                  

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    madeby.google.com/home                                                                                                      NOKIA 6 REVIEW


                    PHONE FINDER                      NEC e636                                                                                                  
   SAMSUNG        LENOVO        ALCATEL      GIONEE                                  Released 2006, February
    APPLE         XIAOMI          ZTE         VIVO                                   110g, 13.9mm thickness
                                                                                                                                          N/A                     8
  MICROSOFT       GOOGLE       TOSHIBA       LEECO                                   Feature phone
                                                                                                                                         400,719 HITS             BECOME A FAN
    NOKIA          ACER        VODAFONE    PANASONIC                                 32MB storage, miniSD card slot
    SONY           ASUS        GIGABYTE       HP

     LG            OPPO          XOLO         YU

     HTC          ONEPLUS        LAVA       VERYKOOL
                                                                                                                                                            
  MOTOROLA         MEIZU       MICROMAX     MAXWEST                                 2.2"                    2MP                                                900mAh
   HUAWEI       BLACKBERRY       BLU         PLUM                                   240x320 pixels          Video recorder                                     Li-Ion

      ALL BRANDS                 RUMOR MILL                                                                    OPINIONS                COMPARE                   PICTURES

                                                       NETWORK       Technology         GSM / UMTS                                                                          EXPAND ▼


                                                       LAUNCH        Announced          2006, February
                                                                     Status             Discontinued
                                                       BODY          Dimensions         102 x 48 x 13.9 mm, 65 cc (4.02 x 1.89 x 0.55 in)
                                                                     Weight             110 g (3.88 oz)
                                                                     SIM                Mini­SIM
                                                       DISPLAY       Type               TFT, 256K colors
                                                                     Size               2.2 inches, 33 x 45 mm (~30.6% screen­to­body ratio)
                                                                     Resolution         240 x 320 pixels (~182 ppi pixel density)
                                                                                        ­ Second external mono OLED display
                                                       MEMORY        Card slot          miniSD
                                                                     Phonebook          500 entries
                                                                     Call records       20 dialed, 20 received, 20 missed calls
                                                                     Internal           32 MB
   MORE
                                                       CAMERA        Primary            2 MP
             In the news                                            Video              Yes
                                                                     Secondary          CIF videocall camera
                                                       SOUND         Alert types        Vibration; Downloadable polyphonic ringtones
   POPULAR FROM NEC                                                  Loudspeaker        No
                                                                     3.5mm jack         No
                                                       COMMS         WLAN               No
                                                                     Bluetooth          Yes
                                                                     GPS                No
                                                                     Radio              No
                                                                     USB                Yes
    NEC Terrain           NEC N930        NEC e616     FEATURES      Messaging          SMS, EMS, MMS, Email
                                                                     Browser            WAP 2.0/xHTML
                                                                     Games              Yes + downloadable
                                                                     Java               Yes, MIDP 2.0
                                                                                        ­ MP3/AAC/MP4 player 
                                                                                        ­ Predictive text input 
                                                                                        ­ Organizer 
                                                                                        ­ Voice memo 
                                                                                        ­ SyncML
                                                       BATTERY                          Removable Li­Ion 900 mAh battery
                                                                     Stand­by           Up to 270 h
     NEC N920             NEC e338        NEC N200
                                                                     Talk time          Up to 4 h
                                                       MISC          Colors             Black

                                                          Disclaimer. We can not guarantee that the information on this page is 100% correct. Read more
                                  MORE FROM NEC 


                                                                                                                 OPINIONS
                                                                                                                       TIP US     873K   131KCOMPARE
                                                                                                                                                  87K   231K         PICTURES
                                                                                                                                                                    RSS
                                                                                                                                                                      LOG IN SIGN UP




http://www.gsmarena.com/nec_e636­1476.php                                                                                                                                          1/2
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                                                   NEC E636 - USER OPINIONS AND REVIEWS
                                                  Search                                                                  
                                                    
                                                             Bartjan                                                                       19 Dec 2008         iEiI

                                                             Yeah also had that, read that it was comming soon in 2006. I still like the design, it just great!,
                                                             but the features are old and not updated, so i guess that is the problem


                                                                                                                                                               Reply




                                                    
                                                             andreas                                                                       09 Oct 2008       MLcA

                                                             yes, very nice looking phone. Sometimes it seems to me that persons who are doing
                                                             mob.design they do not have any idea of what looks good and what not;)


                                                                                                                                                               Reply




                                                    
                                                             FRANK                                                                         02 Aug 2008      NHHd

                                                             How soon is it coming? Imagine since 2006!!! MAY BE IT FLOPPED!!!




                                                                                                                                                               Reply



                                                     READ ALL OPINIONS            POST YOUR OPINION                                             Total user opinions: 87




                                                                Nokia 6030 -                              Samsung Galaxy S5 -                 Samsung Galaxy S3 -
                                                                Replacement Phone                         Prime Series...                     OEM Replacement...
                                                                Battery
                                                                $14.99                                    $14.99                              $21.99


                                                                Samsung Galaxy S7 -                       Samsung Galaxy S7                   LG Stylo 2 - Embossed
                                                                Embossed Butter��y...                     Active - Bolt...                    Butter��y...

                                                                $9.99                                     $19.99                              $9.99


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